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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

NORMAN ROBINSON, KENT LATTIMORE, * CIVIL ACTION
LATTIMORE & ASSOCIATES, TANYA SMITH
ANTHONY FRANZ, JR., and * NUMBER:

LUCILLE FRANZ, INDIVIDUALLY
* SECTION:

Plainifis,
. * TRIN ATED
v. LITIGATION
*
THE UNITED STATES OF AMERICA, and
THE UNITED STATES ARMY CORPS OF *
ENGINEERS
*
Defendants.
*
STATE OF CALIFORNIA

COUNTY OF LOS ANGELES
AFFIDAVIT OF NINA D. FROESCHLE IN SUPPORT
F HA ADMIS
BEFORE ME, the undersigned authority, personally appeared, NINA D, FROESCHLE
who, being duly sworn by me, deposes and says the following:
‘ My name is NINA D. FROESCHLE. 1 am over 18 years of age, have never been convicted
ofa felony and am fully competent to make this Affidavit. I have no criminal or disciplinary charges

filed against me. I have personal knowledge of the facts contained in this Affidavit and they are all

true and correct.
I am licensed to practice in the State of California and have regularly practiced before federal
and state courts in California. I am admitted to practice before the following courts: Ninth Circuit

Court of Appeals, United States District Court, Central District of California (as weil as the Southern
Case 2:05-cv-04182-SRD-JCW Document 409-1 Filed 04/25/06 Page 2 of 3

District and Northern Districts), California Supreme Court, California Court of Appeal and the
Superior Courts of the State of Califoria. Attached is a certificate of good standing from the
Supreme Court of California,

FURTHER AFFIANT SAYETH NOT.

NINA D. FROESCHLE

ait
SUBSCRIBED AND SWORN TO BEFORE ME on this Zl "aay of [pri] 200 b

2006, to certify which witness my hand and official seal.

Fatt tN ei Ra et eh at

The State of California

AR LAURAA. HERNANDEZ
mB COMM. #1564046 &
NQTAAY PUBLIC «CALIFORNIA a
LOSANGELES COUNTY “

Fa My Gem, Expires Mar 28, 2008

My Commission Expires: Nur th Lb 7, 2007

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Supreme Court of California

FREDERICK K. OQUHLAICH
Clerk of the Court

CERTIFICATE OF THE CLERK OF THE SUPREME COURT
OF THE

STATE OF CALIFORNIA

Z, FREDERICK K. OHLRICH, Clerk of the Supreme Court of the State of
California, do hereby certify that Nina Dare Freeschle was on the I 4" day of
December, 1987, duly admitted to practice as an attorney and counselor at law in
all the courts of this state; and that his/her name now appears on the Roll of
Attorneys as a member of the bar of this state in good standing.

Witness my hand and the seal of the court,
this 21° day of April, 2006.

FREDERICK K. OHLRICH
Clerk of the Supreme Court

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“Pitricia A. Quinn, Deputy Clerk

